                 Case 4:21-cv-00033-ALM Document 4-10 Filed 02/09/21 Page 1 of 1 PageID #: 382

       AO 399 (OJ.Al!1) Waiva-of111e Smvim ofS     ._


                                            UNITED STATES DISTRICT COURT
                                                                         for the
                                                               Eastern District of Texas

                               llrnodly Jackson                                 )
                                    Plaa,tiJf                                   )
                                       V.                                       )     Civil Action No. 4:21-cv-00033
                              lain Wrtght. et al.                               )
                                                                                )

                                                   WAIVER OF THE SERVICE OF SUMMONS

   To: Jonathan F.. Mtchel
                   fN-of ti. p/,ai111ij/"8 OIIDnllty o r ~ plaintiff)

         I have received your request to waive service of a summons in this action along with a copy of the complaint,
  two copies of this waiver f ~ and a prepaid means of returning one signed copy of the fonn to you.
               I. or the entity I represent. agree to save the expense of serving a smnmons and complaint in this case.
          I understand that I. or the entity I .represent. will keep all defenses or objections to the lawsuit, the court's
 jurisdiction, and the venue of the action, but that I waive any objections to the absence of a smnmons or of service.

         I also IDlderstand that I. or the entity I represent, must file and SCl'Ve an answer or a motion under Rule 12 within
 60 days from                01/14fl021             • the date when this request was sent (or 90 days if it was sent outside the
 United States).  Ifl fail to do so, a default judgment   will be entered against me or the entity I n:present.

 Date:        January 21, 2021
                                                                                       Matthew Bohuslav Digitally signed by Matthew Bohuslav
                                                                                                        Date: 2021.02.05 14:48:15 -06'00'

                                                                                                ~ oftJ. atlal'Wq or IDU8pt&JM"11tJ party

                 Diego Cubero                                                                              Matthew Bohuslav
                                                                                                                  Pri111mftGIN
                                                                                               Office of the Attorney General
                                                                                               P.O. Box 12548, Capitol Station
                                                                                               Austin, TX 78711
                                                                                                                     .Addrtl88
                                                                                              matthew.bohuslav@oag.texas.gov
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                                                                                                              512.475.4099


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and a:■nplmrt A dc:m-1.iot who is located in the United Stak:s and who fails to rdDm a signal waiver of scmcc rc:qucstcd by a plaintiff loca6cd in
the Uaital Stak:s will be rc:quiral hJ pay thc ~ of sc::rvicc, mdcss the ,Wo-wd ..bows good cause for the faih.R.

               "Good cause" docs not include a belief that the lawsuit is grouodkss, or that it has been brought in an imptopcr - , or that the court has
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